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United States v. Wael Hana, et al., S1 23 Cr. 490 (SHS) – Proposed Colloquy for Curcio
Hearing

   •   Good afternoon. Please state your full name.

   •   Do you speak and understand English fluently?

   •   If you would nevertheless like for an Arabic or other interpreter to be present for this or
       any other proceeding, will you let me know?

   •   How old are you?

   •   What is your highest level of education?

   •   Where did you receive that education?

   •   In the past 24 hours, have you taken any pills, drugs, or medication of any kind that
       would affect your ability to hear or understand this proceeding?

   •   In the past 24 hours, have you had any alcoholic beverages?

   •   Have you ever been treated or hospitalized for any mental illness, or alcohol or substance
       abuse?

   •   Are you now, or have you recently been, under the care of a doctor or psychiatrist?

   •   Do you feel alert, awake, and clear-headed today?

   •   Defense counsel, do you have any doubt about Mr. Hana’s competence to proceed today
       with this Curcio hearing?

   •   Mr. Hana, you are currently represented by Mr. Lustberg and Ms. Collart, along with
       others from their law firm, Gibbons P.C., correct?

   •   Are you satisfied with their representation?

   •   An issue has arisen as to whether or not there is a conflict of interest or other potential
       problem with respect to Mr. Lustberg, Ms. Collart, and their firm in continuing to
       represent you, based on (1) their current representation of your co-defendant Fred Daibes
       in what is alleged to be a related federal case, and (2) Mr. Lustberg’s personal knowledge
       of certain facts that the Government has alleged are relevant to this case. Each of these
       things raises separate potential concerns.

   •   Now I want to be clear: I have not made any conclusions that either or both of them, or
       their law firm, have any actual conflict of interest, or whether any other problem may
       arise from their representation, but you have a right to conflict-free counsel, and I need to
       make sure that you understand what the potential conflict or other issues are. It is up to
       you to decide whether or not, in light of the potential risks posed by their serving as your
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       counsel, you wish to continue with them as your lawyers or whether you want to find
       new lawyers. And while I intend to reference the two of them specifically in the
       remainder of my questions, you should know that it is possible that the risks posed by
       their serving as your counsel may extend to their law firm as a whole, including any other
       counsel who are also representing you or may represent you from the same firm. Do you
       understand that?

   •   The purpose of this proceeding is for me to describe to you what this possible conflict is,
       and other risks, to make sure you understand them, and then for you to determine whether
       or not you want to go forward with Mr. Lustberg and Ms. Collart as your lawyers. Do
       you understand the purpose of this proceeding?

   •   As I go through these questions, I will offer you the opportunity to speak with another
       lawyer, not from their law firm, about the potential conflict or other risks, to the extent
       you have not already done so. You do not have to talk to another lawyer, but that is
       available to you. Do you understand that?

   •   You may also retain another lawyer, not from their law firm, to confer with about the
       issues we’ll be discussing today. And you may do so while also continuing to be
       represented by Mr. Lustberg and Ms. Collart. Do you understand that?

   •   Do you also understand that, if you cannot afford counsel at any point during this case,
       one can be appointed for you, at no cost to you?

   •   Have you previously spoken to another lawyer, not from Gibbons, about the potential
       conflict or other risks?

   •   Let me also note that if you would like to take a break at any point during this
       proceeding, to consider what I have said, or to talk with your lawyers, just let me know.
       Do you understand that?

   •   I am now going to describe the potential risks in proceeding with Mr. Lustberg and Ms.
       Collart, and ask you some questions to ensure that you understand them.

Duties of Loyalty and Confidentiality

   •   In the United States, an attorney has to represent his or her client to the best of his or her
       ability. This obligation of that attorney is 100 percent to that client. Do you understand
       that?

   •   An attorney has a duty of loyalty to that client, not to anybody else, regardless of who
       may be paying the attorney’s bills, and regardless of the nature of the proceeding. Do
       you understand that?

   •   An attorney also has a duty of confidentiality. Anything you tell your attorneys, as long
       as it’s done in the context of his or her representation of you and in the context of you
       seeking legal advice, is confidential. Your attorney cannot tell anyone else about what

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    you have been telling them, and they cannot use anything you have been telling them in
    any way without your consent, except in certain very limited circumstances. Do you
    understand that?

•   So, in this matter, Mr. Lustberg and Ms. Collart have both a duty of loyalty to you, and
    only you, and a duty of confidentiality that arises out of their representation of you. Do
    you understand that?

•   Now, Mr. Lustberg and Ms. Collart have also previously formed an attorney-client
    relationship with Fred Daibes, a co-defendant in this case, in connection with a different
    matter that is not before this Court, but is alleged to be related to the matter before this
    Court. Do you understand that?

•   I am referring to Mr. Daibes’s pending federal criminal case in the District of New
    Jersey. Are you aware that he has that case?

•   Are you aware that it is pending, that is, ongoing?

•   Are you aware that the Government has alleged that that case is related to this case in
    certain ways? I am not taking a position on that allegation, or any other allegation in this
    case, but I want to ensure that you understand that they are alleged to be related. As
    relevant here, in sum, both the original indictment and the superseding indictment allege
    that both you and Mr. Daibes, along with others, participated in a conspiracy in which
    your co-defendant Robert Menendez received bribes, including through his wife, your co-
    defendant Nadine Menendez, in exchange for, among other things, promising and seeking
    to interfere with Mr. Daibes’s pending federal criminal case in the District of New Jersey.
    Are you aware of that allegation?

•   Have you reviewed the superseding indictment?

•   Without telling me what they have said, have Mr. Lustberg and Ms. Collart discussed this
    allegation and the potential conflict of interest that it and their representation of Mr.
    Daibes poses with you?

•   As a client of Mr. Lustberg and Ms. Collart in that other matter, they owe a duty of
    loyalty and confidentiality to Mr. Daibes. Do you understand that?

•   And in particular, if they learned something confidential in their representation of Mr.
    Daibes in the other matter that might be helpful to you, they cannot use it to help you
    without Mr. Daibes’s consent. This holds true even if it would not harm Mr. Daibes,
    because they have that duty of loyalty and duty of confidentiality to Mr. Daibes. Do you
    understand that?

•   And this potential conflict extends both to questioning witnesses and to arguments they
    might make to me or the jury. Do you understand that?



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•   This is the essence of the potential conflict: Mr. Lustberg and Ms. Collart could not do
    something to help you in this case, to the extent they would be otherwise obligated to, if
    doing so conflicted with their duty of loyalty or duty of confidentiality to Mr. Daibes. Do
    you understand that?

•   Further, Mr. Lustberg and Ms. Collart might, because they have these duties to Mr.
    Daibes, be limited in what advice they could give you. For example, and I am not
    suggesting this is necessarily the case, they might otherwise recommend that you
    cooperate, testify, or take other actions in defending this case—but those actions might
    hurt Mr. Daibes in this case or his other case, which means that their duty to you and duty
    to him may conflict. Do you understand that?

•   This is true even if they ended their attorney-client relationship with Mr. Daibes in that
    other matter, or if he ended it. Do you understand that?

•   This is also true if Mr. Daibes’s other case were to be completed. Do you understand
    that?

•   Do you understand, in sum, that this all could conceivably affect the way in which Mr.
    Lustberg and Ms. Collart represent you in this case, including advice they give you,
    actions they undertake on your behalf, and arguments they make to me or the jury?

•   Do you understand that this potential conflict has existed throughout the time when Mr.
    Lustberg and Ms. Collart represented both Mr. Daibes and you?

•   In short, the potential conflict did not start when you were charged. Do you understand
    that?

•   I cannot tell you every potential way that this potential conflict could arise because I do
    not know what is going to happen in this case, but, given the importance of this issue, I
    want to be specific about certain things that could arise.

•   For example, it may be that Mr. Daibes has told Mr. Lustberg or Ms. Collart confidential
    information in connection with that other matter that they could use to make arguments to
    me or the jury or to question witnesses in this case. Unless Mr. Daibes were to consent,
    neither Mr. Lustberg nor Ms. Collart could use that information, even if doing so would
    help you. Again, I am not suggesting that this is in fact the case, only that it is a
    possibility. Do you understand that?

•   It is also possible that Mr. Daibes could be a witness against you at trial or in other
    proceedings in this case. If Mr. Daibes testifies, you have the right to cross-examine him
    through your lawyers. But again, Mr. Lustberg and Ms. Collart could not use any
    confidential information that they obtained or learned from Mr. Daibes to cross-examine
    Mr. Daibes if he were to testify. Do you understand that?

•   It may also be that there might be a different witness or witnesses whom Mr. Lustberg
    and Ms. Collart would want to call in your defense. Unless Mr. Daibes were to consent,
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    Mr. Lustberg and Ms. Collart could not use any confidential information they learned
    from their representation of Mr. Daibes to question that witness or witnesses. Do you
    understand that?

•   Generally, any duty of loyalty or confidentiality that Mr. Lustberg and Ms. Collart have
    to Mr. Daibes could cause them to question witnesses less vigorously or less effectively
    than an un-conflicted attorney might do. Do you understand that?

•   Mr. Lustberg and Ms. Collart may also refrain from or be limited in their ability to make
    certain arguments to me or at trial, should the case go to trial, or at some other proceeding
    regarding the evidence in this case, even though such arguments may be beneficial to you
    because of their ongoing duties of loyalty and confidentiality to Mr. Daibes. Do you
    understand that?

•   It is important to understand that no one can predict with any certainty the course that this
    case will take or how the restrictions on Mr. Lustberg’s and Ms. Collart’s ability to
    represent you will affect you in this case. Do you understand that?

•   These restrictions continue beyond trial. In the event that you were to be convicted, the
    same restrictions would apply at sentencing, and any appeal or other proceeding. Do you
    understand that?

•   The examples I have given you are just examples—I cannot tell you precisely how any
    potential conflict may arise. Do you understand that?

•   Do you want me to appoint another attorney, who is independent, to discuss this potential
    conflict, and how it could play out or hinder your defense, with you?

•   Because this potential conflict issue is so important, and neither I nor anyone else can
    foresee all the ways in which that potential conflict may arise, I want to make sure that
    you fully understand what this potential conflict is. So, can you explain in your own
    words what you understand the potential conflict to be, and how it could affect your
    defense?

•   If you do decide that you want Mr. Lustberg and Ms. Collart to continue to represent you
    in this case, you cannot in the future argue that they did not adequately represent you
    because they had the potential conflict I have described. Do you understand that?

•   In short, if you decide to proceed with Mr. Lustberg and Ms. Collart even though they
    have a potential conflict of interest, you cannot argue in the future that they did not do a
    sufficient job defending you in light of the potential conflict. Do you understand that?

•   In addition, I have set a trial date in this matter for May 6, 2024, and as I said at the initial
    conference, I expect you and your co-defendants to be prepared to proceed to trial on that
    date. That means that if you decide in the future to change counsel, for any reason, you
    will need to do so sufficiently before the trial date for that counsel to get up to speed and
    proceed with trial on May 6, 2024. Do you understand that?
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   •   Is there anything that I’ve said to you or that I brought up that you wish to have explained
       further, or that you have any question about?

   •   In light of everything I have said, do you wish to have Mr. Lustberg and Ms. Collart
       continue to represent you in connection with the charges against you in this case?

   •   Is that your own decision?

   •   Have you had sufficient time to think about it?

   •   Have you received any threat, inducement, payment, or other promise that may have
       influence your decision on this issue?

Attorney’s Personal Knowledge of Certain Facts

   •   Now I will turn to a different potential issue in this case. As I understand it, Mr. Lustberg
       has personal knowledge of certain facts alleged to be relevant to the charges here. Mr.
       Lustberg’s knowledge arises from his representation of Mr. Daibes. Do you understand
       that?

   •   Ms. Collart, because she also represents Mr. Daibes, may similarly have personal
       knowledge of the same facts or have discussed them with Mr. Lustberg at the time he
       learned them. Do you understand that?

   •   In short, Mr. Lustberg, at least according to the Government, is a potential witness in this
       case. The Government alleges that Mr. Lustberg participated in, among other things,
       relevant conversations with your co-defendants Robert Menendez and Fred Daibes. And
       there is at least a chance that Ms. Collart is also a potential witness as to the same facts.
       Do you understand that?

   •   Now I am not taking a position on the facts, or what evidence is admissible, or whether
       either Mr. Lustberg or Ms. Collart could be a witness, but it is important that you
       understand that the fact that he is a potential witness, and that she may be, presents
       multiple risks to you. Do you understand that?

   •   Without telling me what they have told you, have you talked about this issue with Mr.
       Lustberg and Ms. Collart?

   •   As I mentioned earlier, if you would like, I will appoint an independent lawyer to talk
       with you about this issue. Would you like me to do so?

   •   Have you previously talked with a lawyer not affiliated with Gibbons about this issue?

   •   There are at least two risks to you from one or both of your counsel being a potential
       witness. First, neither counsel, nor anyone else from their firm, can make arguments to
       me or the jury that are not consistent with their personal knowledge of the facts. In short,

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    if either knows something to be true, neither them nor others from their firm can argue to
    me that it is false. Do you understand that?

•   They also cannot question other witnesses in a manner suggesting that a fact that they
    personally know is true is false. Do you understand that?

•   As with the potential conflict of interest I described earlier, in short, this could affect the
    advice you receive, arguments that your lawyers make, or their questioning of witnesses.
    Do you understand that?

•   The second risk to Mr. Lustberg or Ms. Collart being a potential witness is that he or she
    might in fact be called as a witness by the Government. Now again, I am not making any
    decision today about what would happen if that were to occur, but it is important for you
    to understand that if the Government were to call one or both of them as a witness, there
    is at least the possibility that might mean that one or both of them would have to
    withdraw as your counsel. Do you understand that?

•   Put differently, generally, a lawyer cannot serve as both a lawyer and testify as a witness.
    Do you understand that?

•   It is also important for you to understand that no one can predict with certainty right now
    whether the Government will decide to call Mr. Lustberg or Ms. Collart as a witness.
    That decision will be made closer to trial—yet as I have told you, I expect you to be
    ready to proceed to trial on May 6, even if you decide to change counsel. By continuing
    with Mr. Lustberg and Ms. Collart, you are therefore taking on the risk that you will lose
    one or both of your attorneys, or their law firm, closer to trial. Do you understand that?

•   It is also possible that the fact that Mr. Lustberg is a potential witness might affect his
    advice to you, and the same for Ms. Collart, or the advice of their colleagues, because
    they may prefer not to be a witness. Do you understand that?

•   Similarly, if you may prefer that they not be a witness, it could affect your ability to
    follow their advice or to make certain decisions. Do you understand that?

•   Relatedly, even if Mr. Lustberg and Ms. Collart are not called as witnesses it is possible
    that other witnesses may be aware that either was personally involved in or has
    knowledge of certain facts, and that may create challenges for them or others to cross-
    examine those witnesses, which would not be an issue with a different lawyer who had no
    personal knowledge of the facts. Do you understand that?

•   Although I am not making any decision today or attempting to predict the future, it is
    possible that in light of what other witnesses know or say, or what certain documents
    show, Mr. Lustberg or Ms. Collart might have to withdraw as counsel even if they were
    not themselves actually testifying witnesses. Do you understand that?


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•   As I said earlier, because it is so important, and neither I nor anyone else can foresee all
    the ways in which that potential conflict or other issue may arise, I want to make sure that
    you fully understand the risks to you. So, can you explain in your own words what you
    understand the potential conflict to be concerning Mr. Lustberg or Ms. Collart being a
    potential witness, and how it could affect your defense?

•   If you do decide that you want them to continue to represent you in this case, you cannot
    in the future argue that they did not adequately represent you because either had the
    potential conflict I have described. Do you understand that?

•   In addition, as I have said, I expect you and your co-defendants to be prepared to proceed
    to trial on May 6, 2024. That means that if Mr. Lustberg or Ms. Collart has to withdraw,
    even if close to trial, there is no guarantee that the trial will be adjourned. Do you
    understand that?

•   If your current counsel were to withdraw, any new counsel may have less time to prepare
    for trial. Do you understand that?

•   Although I am using the word “withdraw,” there is the possibility that I may order them
    to do so, that is, the decision is not solely theirs to make. I am not at all saying that I will
    do that, but I want you to understand that there is a possibility that the Government or
    another party may ask me to make a decision as to whether Mr. Lustberg and/or Ms.
    Collart may continue to represent you, and even if they or you object, I may have to
    decide that they cannot continue to represent you, or that their law firm as a whole
    cannot. Do you understand that?

•   Is there anything that I’ve said to you or that I brought up that you wish to have explained
    further, or that you have any question about?

•   In light of everything I have said, do you wish to have Mr. Lustberg and Ms. Collart
    continue to represent you in connection with the charges against you in this case?

•   It that your own decision?

•   Have you had sufficient time to think about it?

•   Have you received any threat, inducement, payment, or other promise that may have
    influenced your decision on this issue?

•   Do you understand that, with respect to Mr. Lustberg or Ms. Collart being a potential
    witness, we may have to revisit this issue before trial, that is, your decision to continue to
    proceed with them today does not necessarily mean that they can be your counsel for
    trial?




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